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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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SUPERSEDING INDICTMENT
UNITED STATES OF AMERICA
S119 Cr. 725 (JPO)
—-v.-
LEV PARNAS,
IGOR FRUMAN,
DAVID CORREIA, and
“ANDREY KUKUSHKIN,
Defendants.
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INTRODUCTION

The Campaign Finance Schemes

 

1. Through its election laws, Congress prohibits
foreign nationals from making contributions, donations, and
certain expenditures in connection with federal, State, and local
elections, and prohibits anyone from making contributions in the
name of another. Congress further requires public reporting
through the Federal Election Commission (the “FEC’) of the sources
and amounts of contributions and expenditures made in connection
with federal elections. A purpose of these laws, taken together,
is to protect the United States electoral system from illegal
foreign financial influence, and to further inform all candidates,
their campaign committees, federal reguiators, and the public of

(i) the true sources of contributions to candidates for federal
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office; and (ii) any effort by foreign nationals to influence
federal, State, or local elections with foreign money.

2. LEV PARNAS, IGOR FRUMAN, DAVID CORREIA, and ANDREY
KUKUSHKIN, the defendants, conspired to circumvent the federal
laws against foreign influence by engaging in a scheme to funnel
foreign money to candidates for federal and State office so that
the defendants could buy potential influence with candidates,
campaigns, and the candidates’ governments. The defendants
concealed the scheme from the candidates, campaigns, federal
regulators, and the public by entering into secret agreements,
laundering foreign money through bank accounts in the names of
limited liability corporations, and through the use of straw donors
(also known as “conduits” or “straw contributors”) who purported
to make legal campaign contributions in their own names, rather
than in the name of the true source of the funds.

3. LEV PARNAS and IGOR FRUMAN, the defendants, made
additional contributions to federal candidates, joint fundraising
committees, and independent expenditure committees that either (i)
were intentionally made in the name of a limited liability
corporation, in order to conceai that FRUMAN was the true source
of the contributions and make it appear as though the limited
liability corporation was actually an established energy company

with real revenue and assets; or (ii} were reported in PARNAS’s

 

 
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name but were in fact funded by FRUMAN, which made it appear that
PARNAS was actually the donor and resulted in FRUMAN exceeding
limits on contributions to candidates or committees to whom FRUMAN
had previously contributed. By concealing that FRUMAN was the
true source of these contributions made in the name of the company
and PARNAS, respectively, the defendants sought to falsely bolster
the reputation of the company, and also to falsely bolster PARNAS’s
reputation and make it appear as if he had sufficient funds to
make the contribution. With respect to the company, in
particular, by concealing that FRUMAN funded the contribution,
PARNAS and FRUMAN sought to make the company appear to be a
legitimate, established venture capable of making a substantial
six-figure contribution when, in fact, it was not. Moreover,
PARNAS and FRUMAN, with the assistance of DAVID CORREIA, the
defendant, further concealed this aspect of the conspiracy by,
among other things, making and causing others to make false
statements to the FEC.
THR CAMPATGN FINANCE LAWS

4, The Federal Election Campaign Act of 1971, as
amended, Title 52, United States Code, Section 30101, et segq.,
(the “Blection Act”), prohibits certain financial influences on

the election of candidates for federal office.
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5. To prevent the influence of foreign nationals on
elections, the Election Act prohibits foreign nationals, directly
or indirectly, from making any contributions or donations in
connection with federal, State, or local elections. Additionally,
to limit the influence that any one person could have on the
outcome of a federal election, the Election Act establishes limits
on the amounts that even United States citizens or lawful permanent
residents can contribute to a federal candidate and the candidate's
authorized committee, including joint fundraising committees,
which are committees established for the purpose of fundraising
for multiple committees at the same time.

6. To prevent individuals from circumventing the
Election Act, and to enable the detection of attempts to circumvent
the Act, the Election Act also prohibits a person from making a
political contribution in the name of another in connection with
any federal election, including, for example, by giving funds to
a straw donor for the purpose of having the straw donor pass the
funds on to a federal candidate or to a candidate’s federal
campaign committee or joint fundraising committee as a donation
from the straw donor, rather than in the name of the true source
of the money. The Election Act also prohibits contributing in the
name of another to an independent expenditure committee spending

to influence the outcome of that federal campaign.

 
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7. The FEC is an agency and department of the United
States with jurisdiction to enforce the limits and prohibitions of
the Election Act, in part by requiring candidates, joint
fundraising committees, and independent expenditure committees to
file regular reports of the sources and amounts of the
contributions they receive. To deter abuses of the Election Act
and instill public confidence in the election process against
corruption and the appearance of corruption, the Election Act
requires the FEC to publish the reports that it receives so that
all of the candidates, the entire public, and law enforcement may
all see the specific information about the amounts and sources of
political contributions and expenditures involving federal
candidates and registered political committees.

RELEVANT INDIVIDUALS AND ENTITIES

8. LEV PARNAS, the defendant, is a businessman and
United States citizen who was born in Ukraine.

9. TGOR FRUMAN, the defendant, is a businessman and
United States citizen whe was born in Belarus.

10. DAVID CORREIA, the defendant, is a businessman and
United States citizen who was born in the United States.

11. ANDREY KUKUSHKIN, the defendant, is a businessman

and United States citizen who was born in Ukraine.
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iz. Foreign National-1 is a foreign national Russian
citizen and businessman who, at all relevant times, was not a
citizen or lawful permanent resident of the United States.

LHE STRAW DONOR SCHEME

13. Beginning in or about March 2018, LEV PARNAS and
IGOR FRUMAN, the defendants, began attending political fundraising
events in connection with federal elections and making substantial
contributions to candidates, joint fundraising committees, and
independent expenditure committees with the purpose of enhancing
their influence in political circles and gaining access to
politicians. PARNAS, who had previously only made one political
contribution, and FRUMAN, who had never made a political
contribution before 2018, sought to advance their personal
financial interests and promote an energy import~export business,
Global Energy Producers (“GEP”’), that they were in the process of
launching. At that time, GEP did not have any income or assets,
and did not even have a bank account. In order to falsely make
it appear that a large contribution came from GEP and thereby
enhance its reputation under false pretenses, PARNAS and FRUMAN
routed money through multiple accounts and then intentionally
caused contributions to be reported in the name of GEP instead of
in FRUMAN’s name, even though FRUMAN funded the contributions with

his personal funds. They did so in order to bolster GEP’s
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reputation, make it appear that GEP was an established and
successful business capable of making substantial political
contributions, and thereby gain support for their business
venture.

14. Specifically, in or about May 2018, to obtain
access to exclusive political events and gain influence with
politicians, LEV PARNAS and IGOR FRUMAN, the defendants, made a
$325,000 contribution to an independent expenditure committee
(“Committee-1") and a $15,000 contribution to a second independent
expenditure committee (“Committee-2”}. Despite the fact that the
FEC forms for these contributions required PARNAS and FRUMAN to
disclose the true donor of the funds, they falsely reported that
the contributions came from GEP, a purported liquefied natural gas
{(“LNG”} import-export business that FRUMAN and PARNAS incorporated
around the time the contributions were made.

15. In truth and in fact, the donations to Committee-1
and Committee-2? did not come from GEP’s funds. Rather, the funds
came from a private lending transaction between FRUMAN and third
parties, were routed through an account in the name of a shell
corporation controlled by PARNAS, and never passed through a GEP
account. Indeed, PARNAS and FRUMAN incorporated GEP at and around
the time of the contributions to Committee-1 and Committee-2, and

deliberately made the contributions in GEP’s name, in order to
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make it appear that GEP was a successful business capable of making
such a contribution when, instead, the true source of the funds
Was a mortgage FRUMAN took out on an apartment he owned. At that
time, GEP had not engaged in LNG business, and had no income or
assets.

16. In addition to the contributions made and falsely
reported in the name of GEP, LEV PARNAS and IGOR FRUMAN, the
defendants, caused iliegal contributions to be made in PARNAS‘ s_
name that, in fact, were funded by FRUMAN, in order to evade
federal contribution limits and make it appear that PARNAS was
himself a contributor. Much as with the contributions described
above, these contributions were made for the purpose of gaining
influence with politicians so as to advance the defendants’ own
personal financial interests. For example, in or about May and
June 2018, PARNAS and FRUMAN committed to raise $20,000 or more
for a then-sitting U.S. Congressman (“Congressman-1"%). In an
effort to reach their contribution commitment to Congressman-1 and
further their political goals, in or about June 2018, after FRUMAN
had already made a maximum $2,700 contribution to Congressman-l,
FRUMAN paid for another maximum $2,700 contribution to
Congressman-1l that was made and reported in PARNAS’s name.

17. Similarly, in or about June 2018, to fulfill a

financial commitment required to gain access to an exclusive
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political event, LEV PARNAS and IGOR FRUMAN, the defendants, made
an $11,000 contribution in PARNAS’s name to a joint fundraising
committee (“Committee-3%) that was actually funded by FRUMAN. As
a result of that contribution and a prior contribution FRUMAN had
made to Committee-3 in his own name, FRUMAN made contributions in
excess of legal contribution limits.

18. Moreover, and to further conceal the true source of
the funds used to make certain of the contributions described
above, in or about October 2018, LEV PARNAS, IGOR FRUMAN, and DAVID
CORRETA, the defendants, submitted materially false sworn
affidavits to the FEC. In preparing those affidavits, CORREIA
asked the defendants’ accountant to draft documents describing the
transaction that led to the contribution to Committee-1 in a manner
that was consistent with the false statements the defendants were
making to the FEC, but inconsistent with how they had actually
recorded the transaction on GEP’s books. Specifically, and in
response to a complaint filed with the FEC regarding the $325,000
contribution to Committee-1, PARNAS, FRUMAN, and CORREIA made the
following false statements, in substance and in part:

a. That “a $325,000 contribution to [Committee-

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1] . . . was made with GEP funds for GEP purposes,” when in truth
and in fact, the contribution was made with funds from a private

lending transaction by FRUMAN.

 

 
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bp. That “GEP is a real business enterprise funded
with substantial bona fide capital investment; its major purpose
is energy trading, not political activity,” when in truth and in
fact, GEP had no existing business, was not funded with bona fide
capital investment, and was not engaged in energy trading.
19. Additionally, the affidavits of LEV PARNAS and IGOR
FRUMAN, the defendants, falsely stated that the $2,700
contribution made to Congressman-1 in PARNAS' s name “was made with
a business credit card . . . which [PARNAS] reimbursed,” when in
truth and in fact, PARNAS did not reimburse FRUMAN or any other
individual for that contribution.
THE FOREIGN NATIONAL DONOR SCHEME
20. ‘Prom in or about June 2018 through in or about April
2019, LEV PARNAS, IGOR FRUMAN, DAVID CORRETA, and ANDREY KUKUSHKIN,
the defendants, and others known and unknown, conspired to have a
foreign national -- Foreign National-1 ~-- fund political donations
to federal and state public officials and candidates for elected
office to gain influence with those officials and candidates as to
policies and licensing decisions that would benefit a future
business venture. To conceal the true source of the contributions
and donations funded by Poreign WNational-1l, PARNAS, FRUMAN,

CORREIA, and KUKUSHKIN caused the contributions and donations to

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be made in FRUMAN’s and PARNAS’s names rather than in the name of
Foreign National-1.

21. Beginning in or about July 2018, LEV PARNAS, IGOR
FRUMAN, DAVID CORREIA, and ANDREY KUKUSHKIN, the defendants, and
Foreign National-l made plans to form a cannabis business (the
“Business Venture”). The defendants and Foreign National-1
intended for Foreign National-1l to fund the Business Venture and
their initial objective was to obtain the requisite licenses to
operate in particular states, including Nevada. In or about
September 2018, PARNAS, FRUMAN, CORREIA, KUKUSHKIN, and Foreign
National-1l traveled to Las Vegas, Nevada, and PARNAS, FRUMAN, and
KUKUSHKIN attended a political fundraiser for a state candidate in
Nevada (“Candidate-1") and pledged to contribute money to
Candidate-1l. While in Nevada, PARNAS, FRUMAN, CORRETA, KUKUSHKIN,
and Foreign National-1 discussed the terms of the Business Venture
and, as Foreign Nationai-1 later wrote in a text message, “agreed

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on princip{les] of [their] . . . future enterprise,” which included
that Foreign National-i would ‘provide $1 million for our future
enterprise” to be spent in Nevada, California, New York, and New
Jersey to “obtain[] licenses [in] thlo]se states.”

22. After their meeting in Nevada, LEV PARNAS, IGOR

FRUMAN, DAVID CORREIA, and ANDREY KUKUSHKIN, the defendants, and

Foreign National-i agreed upon the terms of the Business Venture,

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including that Foreign National-1 would transfer funds to pay for
political contributions. In or about September and October 2018,
CORREIA drafted a table of political donations and contributions
for a “multi-state licensing strategy” (the “Political Donations
Table”). The Political Denations Table -- which CORREIA drafted
with the assistance of PARNAS and FRUMAN, and which FRUMAN sent to
KUKUSHKIN and Foreign National-1l -- contemplated approximately
between $1 and $2 million in political contributions to federal
and State political committees, and included a “funding” schedule
of two $500,000 transfers by Foreign National-1. After sending
the Political Donations Table to KUKUSHKIN and Foreign National-
1, FRUMAN, PARNAS, and CORREIA repeatedly solicited Foreign
National-1, sometimes through KUKUSHKIN, to wire money to fund the
contributions. For instance, FRUMAN texted KUKUSHKIN that they
“urgently” needed the money from Foreign National~-1 because they
needed to “fork over a check for 250” to Candidate-1.

23. In accordance with the Political Donations Table,
in or about September and October 2018, Foreign National-1l wired
57 million from foreign bank accounts to a business bank account
in the United States designated by IGOR FRUMAN, the defendant.
FRUMAN, LEV PARNAS, DAVID CORREIA, and ANDREY KUKUSHKIN, the
defendants, and Foreign National-1 intended these funds to be used

for making political contributions. Indeed, KUKUSHKIN texted

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FRUMAN, PARNAS, and Foreign National-1 that the “([m]oney
transferred by [Foreign National-1l] . . . was to support the very
specific people and states (per {the Political Donations Table])
in order to obtain green light for licensing.” Similarly,
KUKUSHKIN texted an individual working for FRUMAN, PARNAS, and
CORREIA, “the money was transferred ~ $1M to Lev & Igor’s company

to cover all the contributions as planned.” To conceal the
source of the funds and their intended use, the transfers came
from bank accounts in the names of foreign limited liability
corporations, and were made pursuant to purported loan agreements
between those entities and a business operated by FRUMAN and his
family member. The agreements were not signed by Foreign
National—-1? or any of the defendants, and the Funds were wired into
FRUMAN’s business bank account rather than a bank account for the
Business Venture in order to, as FRUMAN texted KUKUSHKIN, “avoid
problems later.”

24. LEV PARNAS and IGOR FRUMAN, the defendants, used
the funds transferred by Foreign National-1, in part, to make
political donations and pay off credit card bills containing
charges for political contributions they had previously made that
were listed on the Political Donations Table. For example, on or
about October 20, 2018, PARNAS, FRUMAN, and ANDREY KUKUSHEIN, the

defendant, attended a campaign rally for Candidate-1 in Nevada, at

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which a different Nevada state candidate was present (“Candidate-
2”), and sent photographs of themselves posing with Candidate-2 to
Foreign National-l. Following that event, on or about November
1, 2018, a donation in the amount of $10,000 was made to Candidate-—
2 in FRUMAN’s name, but it was funded with funds from Foreign
National-1l. On or about November 1, 2018, a donation in the amount
of $10,000 was also made to Candidate-l in FRUMAN‘’s name, but it
was funded with funds from Foreign National~1. The defendants
intended that it would be FRUMAN and PARNAS who made the
contributions in their names. KUKUSHKIN, for example, texted
PARNAS, FRUMAN, and Foreign National-1 that “the money [was] wired

in order to cover all the donations” and that FRUMAN and
PARNAS “are the ones issuing them the checks NOT me or [Foreign
National-1].”

25. On or about November 7, 2018, the day after the
elections, and following victories of candidates that the
defendants supported in certain states, including Florida, Foreign
National-1 congratulated IGOR FRUMAN, LEV PARNAS, and ANDREY
KUKUSHKIN, the defendants, “on victory,” and KUKUSHKIN added his
congratulations for the “victory in Florida” and asked “[w]hen can
we get a license and look for the stores.” Nonetheless,
notwithstanding the contributions that were made in Florida,

Nevada, and elsewhere, the defendants failed to timely apply for

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cannabis licenses, or were otherwise unsuccessful in obtaining
licenses. Ultimately, although PARNAS, FRUMAN, DAVID CORREIA, the
defendant, and Foreign National-1 continued to meet into the spring
of 2019, the Business Venture did not come to fruition.

The Fraud Guarantee Scheme

 

26. Between in or about late 2012 and in or about mid-
2019, LEV PARNAS and DAVID CORREIA, the defendants, conspired to
defraud multiple victims by inducing them to invest in their
company, known as “Fraud Guarantee,” based on materially false and
misleading representations. In particular, to induce victims to
invest, PARNAS and CORRETA represented, falsely, that investors’
funds would be used solely for legitimate business expenses of
Fraud Guarantee, when in fact the funds were dargely withdrawn ‘as
eash, transferred to personal accounts, and used for various
apparently personal expenditures. PARNAS and CORREIA also made
materially false representations concerning, among other things,
how much money PARNAS had contributed to the company and how much
money the company had raised overall. At least seven victims
invested in Fraud Guarantee based at least in part on PARNAS’s and
CORRETA’s false and misleading representations, with each victim
being fraudulently induced to pay hundreds of thousands of dollars,

for a total of more than $2 million.

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27. LEV PARNAS and DAVID CORREIA, the defendants,
established Fraud Guarantee in or about late 2012. PARNAS and
CORREIA pitched Fraud Guarantee to potential investors as a company
that would provide services to protect investors from fraud. In
particular, PARNAS and CORREIA claimed that Fraud Guarantee would
offer an insurance product that would allow policyholders to recoup
their losses in the event they lost money due to fraudulent
conduct. Thus, for example, if an investor invested in “Company
XYZ” and purchased a Fraud Guarantee policy, then in the event
that the investor lost the value of the investment due to a
criminal fraud at Company XY%, Fraud Guarantee would enable the
investor to recoup the investor’s losses. Although PARNAS and
CORREIA undertook certain efforts to launch Fraud Guarantee and
bring its products to market, the company never became operational.

28. In or about late 2012 to early 2013, LEV PARNAS and
DAVID CORREIA, the defendants, induced three victims (“Victim-1,”
“Victim-2,” and “Victim-3”%) to invest in Fraud Guarantee through
false and fraudulent representations. PARNAS and CORREIA told
these victims, in substance and in part, that Fraud Guarantee was
a start-up company and that they were raising funds to develop
products and otherwise facilitate the company’s development.

PARNAS and CORREIA further stated, in substance and in part, that

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they were not taking salaries and that all investor funds would be
used for appropriate business expenses of Fraud Guarantee.

29. Based at least in part on the above-referenced
representations, between in or about January 2013 and in or about
January 2014, Victim-1, Victim-2, and Victim-3 invested a total of
approximately $750,000 in Fraud Guarantee, through payments to an
account in which both LEV PARNAS and DAVID CORREIA, the defendants,
were signatories (“FG Account-1%). While a portion of these funds
was spent on Fraud Guarantee business expenses, the majority was
not. During this time period, from FG Account-1, more than
$230,000 was withdrawn as cash, more than $130,000 was used to pay
rent for PARNAS’s personal residence, more than $40,000 was
transferred to accounts in the name of PARNAS and his wife, and at
least tens of thousands of dollars were spent on various apparently
personal expenditures, including more than $30,000 at luxury car
leasing companies.

30. Based at least in part on further representations by
LEV PARNAS and DAVID CORREIA, the defendants, that additional funds
were needed for legitimate business expenses of Fraud Guarantee,
between in or about March 2014 and June 2014, Victim-1 and Victim-
2 paid a total of approximately $190,000 to an account in the name
of PARNAS and his wife (“Parnas Account-1”). While a portion of

these funds was spent on Fraud Guarantee business expenses, the

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majority was not. During this time period, from Parnas Account-_
1, more than $100,000 was used to pay rent for PARNAS’s personal
residence, more than $29,000 was withdrawn as cash, approximately
$3,000 in net transfers were made to a savings account in the name
of PARNAS and his wife, approximately $4,000 was transferred to an
account in the name of CORREIA’s wife, and thousands of dollars
were spent on various apparently personal expenditures.

31. Based at least in part on further representations by
LEV PARNAS and DAViD CORREIA, the defendants, that additional funds
were needed for legitimate business expenses of Fraud Guarantee,
in or about July 2014, Victim-3 paid a total of approximately
$15,000 to an account in the name of Fraud Guarantee, in which
PARNAS and CORREIA were both signatories (“FG Account-2”). During
this time period, from FG Account-2, more than $8,000 in net cash
withdrawals were made, more than $3,000 was transferred to an
account in the name of CORRETA’s wife, and at least hundreds of
dollars were spent on various apparently personal expenditures.

32. In or about late 2015, LEV PARNAS and DAVID CORREIA,
the defendants, induced another victim (“Victim-4”) to invest in
Fraud Guarantee through false and fraudulent representations.
PARNAS and CORREIA told Victim-4, in substance and in part, that —
PARNAS had personally invested millions of dollars in Fraud

Guarantee, which was false. PARNAS and CORREIA also provided

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Victim-4 with a Fraud Guarantee “business plan,” which contained
various false and misleading claims about the company, including
suggesting that the funds raised to that point had been used on
legitimate business expenses, when, in fact, those funds had
largely been withdrawn as cash, transferred to personal accounts,
and used on various apparently personal expenditures, as described
above. PARNAS and CORREIA told Victim-4, in substance and in
part, that the funds he invested would be used solely for
legitimate business expenses of Fraud Guarantee and, consistent
with that claim, they provided him with a convertible loan
agreement, which represented that Victim-4’s funds would be used
“to finance the development, promotion, and initial operation of
an investment protection business” and would be “fully reserved
and committed” for such purposes.

33. Based at least in part on the above-referenced
representations, between in or about December 2015 and in or about
mid-2016, Victim-4 invested a total of approximately $300,000 in
Fraud Guarantee, through payments to an account in which LEV
PARNAS, the defendant, was sole signatory (“Parnas Account-2”").
Victim-4 wired his funds to Parnas Account-2 because PARNAS and
DAVID CORREIA, the defendant, led Victim-4 to believe, falsely,
that PARNAS had already contributed approximately $300,000 to

Fraud Guarantee on Victim-4’s behalf, and that Victim-4 therefore

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needed to reimburse PARNAS. In fact, PARNAS had never contributed
any funds to Fraud Guarantee on Victim—-4’s behalf. Nor did PARNAS
contribute the $300,000 to Fraud Guarantee once Victim-4
transferred those funds to Parnas Account-2. Rather, while a
portion of the funds Victim-4 transferred to Parnas Account-2 was
used for Fraud Guarantee business expenses, PARNAS mainly used the
funds for personal purposes. In particular, during this period,
from Parnas Account-2, more than $76,000 was withdrawn as cash,
approximately $14,000 in net transfers were made to accounts in
the name of PARNAS and/or PARNAS’s wife and son (of which
approximately $2,000 was transferred to an account in the name of
CORREIA’s wife), approximately $5,500 was transferred to an
account in the name of CORREIA’s wife, and thousands of dollars
were spent on various apparently personal expenditures, including
more than $30,000 at luxury car leasing companies.

34, In or about early 2016, LEV PARNAS and DAVID CORREIA,
the defendants, induced another victim (“Victim-5%) to invest in
Fraud Guarantee through false and fraudulent representations,
PARNAS and CORREIA told Victim-5, in substance and in part, that
PARNAS had contributed a significant amount of money to the
company, and PARNAS and CORREIA provided Victim-5 with Fraud
Guarantee documents, which indicated, in one document, that

PARNAS’s “capital account” was $570,000, and in another document

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that PARNAS’s “capital account” was $1.1 million and CORREIA’ s
“capital account” was $143,000. These explicit and implicit
representations as to the amount of funding provided by PARNAS and
CORREIA were false. PARNAS and CORREIA also provided Victim—-5
with the false and misleading “business plan” that they had
provided to Victim-4. Based at least in part on these
misrepresentations, Victim-5 invested approximately $250,000 in
Fraud Guarantee, consisting of approximately $200,000 in payments
to PARNAS plus a vehicle valued at approximately $50,000, which
Victim-5 transferred to PARNAS.

35. In or about late 2016, LEV PARNAS and DAVID CORREIA,
the defendants, induced another victim (“Victim—-6”) to invest in
Fraud Guarantee through false and fraudulent representations.
PARNAS and CORREIA told Victim-6, in substance and in part, that
they were not taking salaries and that Victim-6’s funds would be
used for appropriate business expenses of Fraud Guarantee. PARNAS
further told Victim-6, in substance and in part, that PARNAS had
invested millions of dollars of his own money in Fraud Guarantee,
which was false. CORREIA also told Victim-6, via email, that
“Tt]here was ‘significant’ investment from all parties in order to
take ownership [in Fraud Guarantee]. Is equated to several
millions of dollars invested.” This was false, as Fraud Guarantee

had raised substantially less than “several miilions of dollars”

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and the funds had, moreover, been largely withdrawn as cash,
transferred to personal accounts, and spent on apparently personal
expenditures, as described above. PARNAS and CORREIA also sent
Victim-6 the false and misleading “business plan” that they had
provided to Victim-4 and Victim-5.

36. Based at least in part on the above-referenced
representations, on or about October 14, 2016, Victim-6 invested
approximately $300,000 in Fraud Guarantee through a payment to
Parnas Account-2. Thereafter, from Parnas Account-2,
approximately $169,000 was transferred to an account in the name
of PARNAS and his wife, approximately $14,000 was withdrawn as
cash, and thousands of dollars were spent on various apparently
personal expenditures. Of the approximately $169,000 transferred
to an account in the name of PARNAS and his wife, approximately
$50,000 was used to fund a political contribution and approximately
$25,000 was transferred to an account in the name of CORREIA's
wife and was used, in part, to fund a political contribution.

37. In or about mid-to-late 2018, LEV PARNAS and DAVID
CORREIA, the defendants, induced another victim (“Victim-7") to
invest in Fraud Guarantee through false and = fraudulent
representations. PARNAS and CORREIA told victim-7, in substance
and in part, that Fraud Guarantee had raised millions of dollars

from multiple investors. For example, Quring a phone call between

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Victim-7 and CORREIA on or about September 18, 2018 -- which
Victim-7 recorded without CORREIA’s knowledge -- Victim-7 pressed
CORREIA to tell him “how much money .. . has been invested in

this company so far overail,” and CORREIA replied, in substance
and in part, “Millions, man. I don’t misspeak. $4 or $5 million
probably.” These representations were false, as the company had
raised far less than “millions,” and the funds that had been raised
had been largely withdrawn as cash, transferred to personal
accounts, and used on various apparently personal expenditures, as
described above. During this call and on other occasions, PARNAS
and CORREIA also misrepresented to Victim-7, among other things,
the extent to which PARNAS had invested his own funds in Fraud
Guarantee and the extent to which PARNAS and other existing
investors would be investing additional funds alongside Victim~7.

38. Based at least in part on the above-referenced
representations, in or about September and October 2018, Victim-7
invested a total of approximately $500,000 in Fraud Guarantee by
transmitting the funds to an account held by a consulting firm
that LEV PARNAS and DAVID CORREIA, the defendants, had retained on

Fraud Guarantee’s behalf.

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COUNT ONE
(Conspiracy: The Straw Donor Scheme)

The Grand Jury charges:

39. The Grand Jury incorporates the allegations —
contained in paragraphs 1 through 19 of this Superseding Indictment
as though fully set forth herein.

40. From in or about March 2018 through at least in or
about November 2018, in the Southern District of New York and
elsewhere, LEV PARNAS and IGOR FRUMAN, the defendants, knowingly
conspired with each other and with others known and unknown to:

a. Knowingly defraud the United States by
impairing, obstructing, and defeating the lawful functions of a
department or agency of the United States; to wit, the FEC’s
function to administer federal law concerning source and amount
restrictions in federal elections, including the prohibitions
applicable to straw donors.

b. Knowingly and willfully make contributions to
candidates for federal office, joint fundraising committees, and
independent expenditure committees in the names of other persons,
aggregating to $25,000 and more in a calendar year, in violation
of Title 52, United States Code, Section 30122 and 30109 (d) (1} (A}
& (D).

41. In furtherance of the conspiracy and to effect the

illegal objects thereof, LEV PARNAS and IGOR FRUMAN, the
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defendants, and others known and unknown, committed the following
overt acts, among others, in the Southern District of New York and
elsewhere:

a. In or about March 2018, PARNAS committed to
making a $125,000 contribution to Committee-3 to attend a
fundraising event in the Southern District of New York.

b. In or about May 2018, FRUMAN, and others known
and unknown, obtained a private loan, the proceeds of which were
used to fund the contribution made in the name of GEP to Committee~
1.

c. In or about May 2018, FRUMAN and PARNAS, and
others known and unknown, transferred the proceeds of FRUMAN’s
private loan through multiple bank accounts — none of which were
in the name of GEP - to conceal the true source of the funds before
they were paid to Committee-1.

d. In or about May 2018, PARNAS caused a $325,000
contribution to Committee-1 to be falsely reported in the name of
GEP.

e. In or about June 2018, PARNAS made an $11,000
contribution to Committee-3 using funds that belonged to FRUMAN
and another individual.

f. In or about June 27018, PARNAS used a business

credit card registered to a credit card account, with a registered

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address in the Southern District of New York, belonging to FRUMAN
and another individual in order to make a maximum 82, 700
contribution to Congressman-1’s reelection campaign.

(Title 18, United States Code, Section 371, and Title 52, United
States Code, Sections 30122 and 30109(d) (1) (A) & (D) )

COUNT TWO
(False Statements to the FEC)

The Grand Jury further charges:

42. The Grand Jury incorporates the allegations
contained in paragraphs 1 through 19 of this Superseding Indictment
as though fully set forth herein.

43. In or about October 2018, in the Southern District
of New York and elsewhere, LEV PARNAS, IGOR FRUMAN, and DAVID
CORREIA, the defendants, willfully and knowingly did make
materially false, fictitious, and fraudulent statements and
representations in a matter within the jurisdiction of the
executive branch of the Government of the United States, to wit,
PARNAS, FRUMAN, and CORREIA made the materially false statements
in their affidavits submitted to the FEC, described in paragraph
18 above, that “a $325,000 contribution to [Committee-1] . . . was
made with GEP funds for GEP purposes,” and that “GEP is a real
business enterprise funded with substantial bona fide capital
investment; its major purpose is energy trading, not political

activity”; and PARNAS and FRUMAN made the materially false

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statement in their affidavits submitted to the FEC, described in
paragraph 19 above, that a contribution made by PARNAS on or about
June 25, 2018 to Congressman-1’s campaign for reelection “was made
with a business credit card . . . which [PARNAS] reimbursed.”
(Title 18, United States Code, Sections 1001(a) (2) and 2)

COUNT THREE
(Falsification of Records)

The Grand Jury further charges:

44, The Grand Jury incorporates the allegations
contained in paragraphs 1 through 19 of this Superseding Indictment
as though fully set forth herein.

45. In or about October 2018, in the Southern District
of New York and elsewhere, LEV PARNAS, IGOR FRUMAN, and DAVID
CORREIA, the defendants, willfully and knowingly did falsify and
make a false entry in a record and document with the intent to
impede, obstruct, or influence the investigation or proper
administration of a matter within the jurisdiction of any
department or agency of the United States, and in relation to and
in contemplation of any such matter, to wit, PARNAS, FRUMAN, and
CORREIA made the materially false statements in affidavits
submitted to the FEC, described in paragraph 18 above, including
that “a $325,000 contribution to [Committee-1] . . . was made with
GEP funds for GEP purposes,” and that “GEP is a real business

enterprise funded with substantial bona fide capital investment;

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its major purpose is energy trading, not political activity”; and
PARNAS and FRUMAN made the materially false statement in their
affidavits submitted to the FEC, described in paragraph 19 above,
that a contribution made by PARNAS on or about June 25, 2018 to
Congressman-1’s campaign for reelection “was made with a business
credit card . . . which [PARNAS] reimbursed,” with the intent to
impede, obstruct, or influence the investigation and proper
administration of a matter within the jurisdiction of the FEC.
(Title 18, United States Code, Sections 1519 and 2)

COUNT FOUR
(Conspiracy: The Foreign National Donor Scheme}

The Grand Jury further charges:

46. The Grand Jury incorporates the allegations
contained in paragraphs 1 through 12 and 20 through 25 of this
Superseding Indictment as though fully set forth herein.

47. From in or about June 2018 through at least in or
about April 2019, in the Southern District of New York and
elsewhere, LEV PARNAS, IGOR FRUMAN, DAVID CORREIA, and ANDREY
KUKUSHKIN, the defendants, and others known and unknown, knowingly
conspired with each other and with others known and unknown to:

a. Knowingly defraud the United States by
impairing, obstructing, and defeating the lawful functions of a
department or agency of the United States; to wit, the FEC's

function to administer federal law concerning source and amount

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restrictions in federal and State elections, including the
prohibitions applicable to foreign nationals and straw donors.

b. Knowingiy and willfully make contributions and
donations of money, or express or implied promises to make
contributions or donations, directly and indirectiy, by a foreign
national in connection with federal and State elections,
aggregating to $25,000 and more in a calendar year, in violation
of Title 52, United States Code, Sections 30121 and 30109 (d) (1) (A).

c. Knowingly and willfully make contributions to
candidates for State and federal office, joint fundraising
committees, and independent expenditure committees in the names of
other persons, aggregating to $25,000 and more in a calendar year,
in violation of Title 52, United States Code, Section 30122 and
30109 (d)} {1) (A) & (D).

48. In furtherance of the conspiracy and to effect its
illegal object, LEV PARNAS, IGOR FRUMAN, DAVID CORREIA, and ANDREY
KUKUSHKIN, the defendants, and others known and unknown, committed
the following overt acts, among others, in the Southern District
of New York and elsewhere:

a. On or about September 18, 2018, Foreign
National-1 wired $500,000 from a foreign bank account, through the

Southern District of New York, to a bank account under the control

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of IGOR FRUMAN, the defendant, for purposes of making political
contributions and donations.

b. On or about October 16, 2018, Foreign
National-1 wired $500,000 from a foreign bank account, through the
Southern District of New York, to a bank account under the control
of IGOR FRUMAN, the defendant, for purposes of making political
contributions and donations.

c. On or about November 1, 2018, LEV PARNAS and
IGOR FRUMAN, the defendants, used funds wired by Foreign National-
41 to make maximum donations to two political candidates for State
office in Nevada.

(Title 18, United States Code, Section 371, and Title 52,
United States Code, Sections 30121, 30122 and 30109(d) (1) (A) &
(D) )

COUNT FIVE
(Solicitation of a Contribution by a Foreign National)

The Grand Jury further charges:

49, The Grand Jury incorporates the allegations
contained in paragraphs 1 through 12 and 20 through 25 of this
Superseding Indictment as though fully set forth herein,

50. From in or about June 2018 through at least in or
about April 2019, in the Southern District of New York and
elsewhere, LEV PARNAS, IGOR FRUMAN, and DAVID CORREIA, the
defendants, knowingly and willfully solicited, and aided and

abetted the solicitation of, a foreign national, directly and

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indirectly, to make contributions and donations of money, and made
express and implied promises to make contributions and donations,
in connection with federal and State elections, aggregating
$25,000 and more in a calendar year.

(Title 52, United States Code, Sections 30121 and
30109{(d) (1) (A), and Title 18, United States Code, Section 2)

COUNT SIX
(Making a Contribution by a Foreign National)

The Grand Jury further charges:

51. The Grand Jury incorporates the allegations
contained in paragraphs 1 through 12 and 20 through 25 of this
Superseding Indictment as though fully set forth herein.

52. From in or about June 2018 through at least in or
about April 2019, in the Southern District of New York and
elsewhere, LEV PARNAS, IGOR FRUMAN, and ANDREY KUKUSHKIN, the
defendants, knowingly and willfully aided and abetted the making
of contributions and donations of money, and the making of express
and implied promises to make contributions and donations, directly
and indirectly, by a foreign national in connection with federal
and State elections, aggregating $25,000 and more in a calendar
year.

(Title 52, United States Code, Sections 30121 and
30109(d) (1) (A}, and Title 18, United States Code, Section 2)

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COUNT SEVEN
(Conspiracy: The Fraud Guarantee Scheme)

The Grand Jury further charges:

53. The Grand Jury incorporates the allegations
contained in paragraphs 26 through 38 of this Superseding
Indictment as though fully set forth herein.

54. Between in or about late 2012 and in or about mid-
2019, in the Southern District of New York and elsewhere, LEV
PARNAS and DAVID CORREIA, the defendants, and others known and
unknown, willfully and knowingly did combine, conspire,
confederate, and agree together and with each other to commit wire
fraud in violation of Title 18, United States Code, Section 1343.

55. It was a part and object of the conspiracy that LEV
PARNAS and DAVID CORREIA, the defendants, and others known and
unknown, willfully and knowingly, having devised and intending to
devise a scheme and artifice to defraud, and for obtaining money
and property by means of false and fraudulent pretenses,
representations and promises, for the purpose of executing such
scheme and artifice to defraud and attempting so to do, would and
did transmit and cause to be transmitted by means of wire, radio,
and television communication in interstate and foreign commerce,
writings, signs, signals, pictures, and sounds, in violation of
Title 18, United States Code, Section 1343, to wit, PARNAS and

CORREIA conspired to defraud multiple victims by inducing them to
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invest in a company known as “Fraud Guarantee” based on materially
false and misleading representations regarding, among other
things, how the victims’ funds would be used, how much money PARNAS
had contributed to the company, and how much money the company had
raised overall.

(Title 18, United States Code, Section 1349.)

FORFEITURE ALLEGATIONS

 

56. As the result of committing the offense alleged in
Count Seven of this Superseding Indictment, LEV PARNAS and DAVID
CORREIA, the defendants, shall forfeit to the United States,
pursuant to Title 18, United States Code, Section 981 (a) (1) (C}) and
Title 28, United States Code, Section 2461(c), any and all
property, real and personal, that constitutes or is derived from
proceeds traceable to the commission of said offense, including
but not limited to a sum of money in United States currency
representing the amount of proceeds traceable to the commission of
said offense.

SUBSTITUTE ASSETS PROVISION

 

57, If any of the property described above as being
subject to forfeiture, as a result of any act or omission of the
defendants: (a) cannot be located upon the exercise of due
diligence; (b) has been transferred or sold to, or deposited with,

a third person; (c) has been placed beyond the jurisdiction of the

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Court; {d) has been substantially diminished in value; or (e) has
been commingled with other property which cannot be subdivided
without difficulty; it is the intent of the United States, pursuant
to Title 21, United States Code, Section 853(p) and Title 28,
United States Code, Section 2461(c), to seek forfeiture of any
other property of the defendants up to the value of the above
forfeitable property.
(Title 18, United States Code, Section 981;

Title 21, United States Code, Section 853; and
Title 28, United States Code, Section 2461.)

 

 

Fr REPERIIN AUDREY /ATRAUSS
Acting United States Attorney

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

UNITED STATES OF AMERICA

LEV PARNAS,
IGOR FRUMAN,
DAVID CORRETA, and
ANDREY KUKUSHKIN,

Defendants.

 

 

SUPERSEDING INDICTMENT

 

Sl 19 Cr. 725 (GPO)

Title 18, United States Code,
Sections 371, 1001(a) (2), 1349,
1519, and 2 and Titie 52, United

States Code, Sections 30121, 30122
and 30109(d) (1) (A) & (D)}.

Ne
AUDREY STRAUSS

Acting United States Attorney

 

A TRUE BILL

 

Foreperson.

 

 
